EXHIBIT A
      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK


      GREGORIO JIMENEZ,
      on behalf of himself and FLSA Collective Plaintiffs             Case No. 19 CV 1908

                                 Plaintiff,                           NOTICE OF PENDENCY OF
                                                                      LAWSUIT REGARDING WAGES
                                -against-
      LX 1204 JEWELRY INC,
      KEVIN LEE and
      SAM [LNU],
                         Defendants.




  Please read this notice if you are or were employed as a non-exempt employee (including
  but not limited to sales representative and sales) by LX 1204 JEWELRY INC located at
   1204 Broadway, New York, NY 10001 at any time between February 28, 2016 and the
                                            present.


       Former employee GREGORIO JIMENEZ (“Plaintiff”) has sued LX 1204 JEWELRY INC, KEVIN LEE,
and SAM [LNU] (collectively, “Defendants”) on behalf of other current and former LX 1204 JEWELRY INC
employees, seeking (1) unpaid minimum wage, (2) unpaid overtime compensation, (3) unpaid spread of hours
premium, (4) statutory penalties, (5) liquidated damages and (6) attorneys’ fees and costs.

         If you worked for LX 1204 JEWELRY INC between February 28, 2016 and the present, you may be
entitled to unpaid minimum wage and unpaid overtime compensation under the protection of the federal Fair Labor
Standards Act (“FLSA”). The purpose of this Notice is to advise you of your right to participate in this lawsuit
under the FLSA.

         The lawsuit also includes class action claims under the New York Labor Law (“NYLL”). If you worked for
LX 1204 JEWELRY INC between February 28, 2016 and the present, you may have rights under the New York
Labor Law for unpaid minimum wage, unpaid overtime compensation, unpaid spread of hours premium and
statutory penalties.

        LX 1204 Jewelry, Kevin Lee and Sam (Last Name Unknown) deny that the Plaintiff’s claims have merit.
The Court has not decided the merits of any claims or any defenses asserted by any party to this lawsuit or whether
any party is right or wrong.

                                               YOUR LEGAL RIGHTS

        If you worked for Defendants as an employee at any time between February 28, 2016 and the present, you
may join this collective action under the FLSA If you believe that you may be able to assert any of the claims
described above, you have the right to participate in this lawsuit. It is your right to join or not to join this lawsuit. If
you decide to join this lawsuit, it is illegal for Defendants to retaliate, discharge, take any adverse action, or
discriminate against you in any way for participating in this lawsuit. However, should you decide to join this class,
you may speak with other counsel or with the defendants if you so choose. You are under no obligation to do so,
but you may if you wish.

        If you participate in this lawsuit’s FLSA claim, you will be required to provide information and answer
questions, and you may be required to testify at a deposition and in court and to produce documents. You will also
be bound by the outcome of this lawsuit’s FLSA claim, whether it is favorable or unfavorable to the plaintiffs.

        To join this lawsuit, you must sign a “Consent to Sue” form, which is enclosed with this Notice, and send it
on or before [TO BE DETERMINED]:

                         C. K. Lee, Esq.
                         Lee Litigation Group, PLLC
                         148 West 24th Street, Eighth Floor
                         New York, NY 10011
                         Tel: (212) 465-1180
                         Fax: (212) 465-1181
                         Email: cklee@leelitigation.com

         If you do not join this lawsuit, and instead intend to bring your own lawsuit, you should be aware that the
lawsuit must be brought within a specific period of time. Generally, the statute of limitations under the FLSA is two
or three years from the date of the violation, and the statute of limitations under the NYLL is six years from the date
of the violation. You are under no obligation to respond to this notice at all if you so choose.



                               THE LAWYERS REPRESENTING PLAINTIFFS

        If you join this lawsuit and agree to be represented by Plaintiff through his attorney, you will be
represented by Lee Litigation Group, PLLC. The firm is handling the lawsuit on a “contingency fee” basis, which
means that you do not have to pay any attorney’s fees or expenses for this lawsuit. If the plaintiffs win a favorable
judgment, Lee Litigation Group, PLLC may ask the Court to award it up to one-third of the monetary recovery.
You are not required to have Lee Litigation Group, PLLC represent you. If you want your own attorney to represent
you in this lawsuit, however, you will be responsible for paying that attorney’s fees and expenses, which may also
be on a contingent fee basis

        You can obtain more information about this lawsuit by contacting C.K. Lee, Esq.:


                         C. K. Lee, Esq.
                         Lee Litigation Group, PLLC
                         148 West 24th Street, Eighth Floor
                         New York, NY 10011
                         Tel: (212) 465-1180
                         Fax: (212) 465-1181
                         Email: cklee@leelitigation.com

        Do not call or write the Court or the Clerk’s Office with questions.

        Dated: New York, New York, [TO BE DETERMINED]
                          "CONSENT TO SUE" FORM
 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 GREGORIO JIMENEZ,
 on behalf of himself and FLSA Collective Plaintiffs

                          Plaintiff,                         Case No. 19 CV 1908
                        -against-
 LX 1204 JEWELRY INC
 KEVIN LEE
 SAM [LNU],
                    Defendants.


If you are or were employed as a non-exempt employee (including but not limited to sales
representative and sales) at LX 1204 JEWELRY INC, Kevin Lee and Sam Last Name Unknown
(“LNU”) at any time between February 28, 2016 and the present, and you wish to join this class action,
then complete and mail this Consent Form by [TO BE DETERMINED] to:


                        C. K. Lee, Esq.
                        Lee Litigation Group, PLLC
                        148 West 24th Street, Eighth Floor
                        New York, NY 10011
                        Tel: (212) 465-1180
                        Fax: (212) 465-1181

If you do not wish to join this class action against LX 1204 Jewelry and Kevin Lee and Sam Last Name
Unnown, you may discard this notice. I hereby consent to join this lawsuit as a party plaintiff. By
signing and returning this consent form, unless otherwise provided below, I hereby designate
GREGORIO JIMENEZ or his counsel Lee Litigation Group, PLLC to represent me and make
decisions on my behalf concerning the litigation and any settlement.

Name:

Address:

City:                                             State:                       Zip:

Telephone Number: __________________________ Social Security No.:

E-mail Address:

SIGNATURE: _______________________________________ Date: _______________________


□ Instead of retaining Lee Litigation Group, PLLC, I intend to retain my own counsel prior to [2
months from the date of notice] or represent myself.

SIGNATURE: _______________________________________ Date: ______________
